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“IN THE, UNITED STATES DISTRICT COURT
eo 4 Md ke NORTHERN DISTRICT OF ILLINOIS

 

gaan EASTERN DIVISION
EQUIP FOR EQUALITY, INC. ) Cy Ve i Cy
) wp oy Uy U) ¢
Plaintiff, )
) No.
v. ) “WHINE ALES
judge INGE ALESIA
INGALLS MEMORIAL HOSPITAL, )
) Magistrate dudgerpATE JUDGE DENLOW
Defendant. )
COMPLAINT FOR INJUNCTIVE
AND DECLARATORY RELIEF DOCKETED
FEB 0 4 2093

I. Introduction

1, Plaintiff Equip for Equality, Inc. (“EFE”) is a private not-for-profit organization
with a statutory mandate to protect and advocate on behalf of individuals with mental illness and
developmental disabilities, and individuals with other disabilities as defined by the Americans
with Disabilities Act. Pursuant to its statutory authority, EFE undertook an initiative to
investigate and study the conditions of patients in the psychiatric wards and units of private
hospitals. EFE has been attempting to study the conditions of patients at Ingalls Memorial
Hospital (“Ingalls Hospital’’), but Defendant, by its agents and employees, refuses to allow EFE
access to the hospital facilities, patients or employees. Thus, EFE complains against Defendant
seeking access to its facilities, patients and employees in accord with Plaintiff's statutory right.

li. The Parties

2. EFE is a not-for-profit Hlinois Corporation, which was founded in 1985 under the
name Protection and Advocacy, Inc. as an organization dedicated to protecting and upholding the
rights of individuals with disabilities in the state of INinois. EFE’s main office is located in

Chicago, Illinois in Cook County. |
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3. Based on information and belief, Defendant Ingalls Hospital is a private hospital
with at least one unit serving psychiatric patients. The main hospital facility is located at One
Ingalls Drive in Harvey, Iflinois in Cook County.

Ill. Nature of Action

4, The right of EFE, as the Protection and Advocacy System fro Illinois, to bring this
action to require unaccompanied access to facilities that provide medical or psychiatric services
is supported 42 U.S.C § 10801 et seq., known as the Protection and Advocacy for Individuals
with Mental Illness Act (federal PAIMI Act), 42 U.S.C. § 10801 et seq. The federal PAIMI Act
provides in relevant part as follows:

“(b) The purposes of this chapter are —

(2) to assist States to establish and operate a protection and advocacy system for
individuals with mental illness that will-
(A) protect and advocate the rights of such individuals through activities to ensure
the enforcement of the Constitution and Federal and State statutes, and
(B) investigate the incidents of abuse and neglect of individuals with mental
illness if the incidents are reported to the system or if there is probable cause
to believe that the incidents occurred.”

5. EFE’s right to access the facilities, patients and employees of Defendant Ingalls

Hospital is also supported by the following state statute: 405 ILCS 45/1 et seq., known as the

[llinois Protection and Advocacy for Mentally II] Persons Act.
IV. Jurisdiction and Venue
6. This court has jurisdiction over this action pursuant to 28 U.S.C, § 1331. 7.

7. This court has supplemental jurisdiction over the state law claims alleged herein

pursuant 28 U.S.C. § 1367.
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8. Venue is appropriate pursuant to 28 U.S.C. § 1391(b). The parties are Illinois

entities and all of the events and omissions complained of occurred within this district.
VY. Statement of Facts

9, In or about 1985, pursuant to 42 U.S.C. § 10801 ef seg. (Federal PAIMI Act) and
405 ILCS 45/1 et seg. (Illinois PAIMI Act) EFE, formerly known as Protection and Advocacy,
Inc. was designated by the Governor as the Protection and Advocacy organization (P & A) for
Hlinois.

10. Both the Federal and Illinois PAIMI Acts provide that the designated P & A
organization “shall have the authority to pursue administrative, legal and other appropriate
remedies to ensure the protection of the rights of mentally ill persons/individuals with mental
illness who are receiving care or treatment in the/this state.”

11. | EFE’s federal and state mandates include the responsibility to ensure that the
rights of individuals with mental illness and developmental disabilities are protected, and
advocate on their behalf. Thus, EFE serves the important function of providing independent
oversight of programs and facilities that offer treatment and care to individuals with mental
illness and developmental disabilities in Illinois.

12. The Federal Acts governing P & A entities require that they be independent from
state and private providers of services to individuals with mental iilness and developmental
disabilities, and provide federal funding to the designated P & A in each state to fulfill its
statutory mandate.

13. Pursuant to its statutory authority and mandate, EFE provides free self-advocacy
assistance and legal services to individuals with disabilities, conducts inquiries and studies into

issues and problems affecting such individuals and advocates for solutions on their behalf. EFE
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has also examined and monitored state investigations of alleged incidents of abuse and neglect in
state and private residential mental health facilities.

14, In the past, many of EFE’s recommendations resulting from its projects and
studies have led to the enactment of legislative reforms. For example, EFE’s work as Court-
appointed monitor in the case of Nathan v, Leavitt led to the enactment of legislation that
established the right of every recipient of services in a mental health or developmental disability
facility to be free from abuse and neglect (405 ILCS 5/2-112) and to changes in policies and
procedures of the Department of Mental Health and Developmental Disabilities conceming the
reporting of abuse.

15. | EFE is currently implementing an outreach initiative with private psychiatric
hospitals. The goal of the initiatives is to establish EFE’s presence in the Chicago area and
statewide in the private sector hospital system by informing patients, their families and hospital
staff about the advocacy services and the educational and training opportunities offered by EFE.

VI. Denial of Access

16. In January of 2002, representatives of EFE contacted Defendant Ingalls Hospital
by phone concerning EFE’s initiative involving private psychiatric hospitals. In accordance with
its statutory authority, EFE made an oral request for access to the psychiatric unit of Defendant’s
facilities, to the patients of the psychiatric unit and to hospital employees working within the
psychiatric unit. EFE was referred to Ms. Catherine Joseph. Based upon information and belief,
Ms. Joseph serves as Behavioral Health Manager for Ingalls Hospital. In a phone conversation
with representatives of EFE, Ms. Joseph refused to grant access to either the facilities, residents
or employees of the psychiatric unit.

17. Over the next several months, Equip for Equality made additional oral and written

access to the facilities, residents and employees at Ingalls Hospital. On February 22, 2002, EFE

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sent correspondence discussing its statutory rights to counsel for the hospital. Despite the written
request, as well as several more requests made orally over the phone to Ms. Joseph and to legal
counsel for the hospital, Equip for Equality was denied access to the facilities of the psychiatric
unit, the patients, and employees at Ingalls Hospital.

18. Onor about August 6, 2002, EFE made another written request for access to the
facilities, patients and employees of the psychiatric unit at Ingalls Hospital.

19, | Onor about September 13, 2002, representatives of Equip for Equality traveled to
Ingalls Hospital and met with Ms. Joseph. At that time EFE was denied access to the psychiatric

unit facilities, patients, and employees.

VII Right To Relief

20. Part 51 of Title 42 of the Code of Federal Regulations establishes the
requirements that apply to the Federal Protection and Advocacy for Individuals with Mental
Illness Program (PAIMI). 42 C.F.R. 51.31(c) provides as follows:

“(c¢) | Wherever possible, the program should establish an on-going presence in
residential mental health care or treatment facilities, and relevant hospital
units,”

21. Subsection (d) provides:

“(d) Program activities should be carried out in a manner which allows
program staff to:

(1) Interact regularly with those individuals who are current or potential
recipients of protection and advocacy services;
(2) Interact regularly with staff providing care or treatment.”

22. 42C.F.R. 51.31(a) provides:

“(a) Consistent with State and Federal law and
the canons of professional ethics, a P & A
system may use any appropriate technique
and pursue administrative, legal or other
appropriate remedies to protect and advocate
on behalf of individuals with mental illness
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f™ on,

23.

24,

to address abuse, neglect or other violations
of rights.”

42 C.F.R. 51.31(i) provides:

“G) AP & A system may exercise its authority
under State law where the authority exceeds
the authority required by the Act. However,
state law must not diminish the required
authority of the Act.”

The requirements that apply to the Illinois Protection and Advocacy for Mentally

Ill Persons Act (state PAIMI) are found at 405 ILCS 45/3 et seg. Section 45/3(B) provides as

follows:

25.

“(B) The agency shall have access to all mental health facilities as defined in
Sections 1-107 and 1-114 of the Mental Health and Developmental Disabilities
Code, all facilities as defined in Section 1-113 of the Nursing Home Care Act, all
facilities as defined in Section 2.06 of the Child Care Act of 1969, as now or
hereafter amended, and all other facilities providing care or treatment to mentally
ill persons. Such access shall be for purposes of meeting with residents and staff,
informing them of services available from the agency, distributing written
information about the agency and the rights of persons who are mentally ill,
conducting scheduled and unscheduled visits, and performing other activities
designed to protect the rights of mentally ill persons.”

Defendant’s actions and inactions in refusing EFE’s written and oral requests for

access to the facilities, residents and employees of Ingalls Hospital violate EFE’s statutory rights

under the federal PAIMI Act, 42 C.F.R. § 10801 ef seg. and under the state PAIMI Act (405

ILCS 45/1 et seq.).

VIII. Prayer for Relief

26.

WHEREFORE, Plaintiff Equip for Equality requests:

a. that the Court exercise jurisdiction over this action;
b. that the Court declares that Defendant’s actions and inactions violate the
federal PAIMI Act;
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c. that the Court declare that Defendant’s actions and inactions violate the
Illinois PAIMI Act;

d. that the Court enjoin Defendant to allow Equip for Equality
unaccompanied access to the facilities, residents and employees at Ingalls
Hospital without advance notice and at any reasonable time during and
after business hours.

€. that the Court issue such other relief as may be just, equitable appropriate.

Respectfully submitted,

Pun her

ByronL. Mason
Attofney for Plaintiff

Equip for Equality, Inc.

11 East Adams Street, Suite 1200
Chicago, Illinois 60603
312/341-0022
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CIVIL COVER SHEET

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required
by jaw, except as provided by local rules of court, This form, approved by the Judicial Conference of the United States in September 1974, is required for the use
of the Clerk of Court for the purpose of initiating the civil dockel sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a) PLAINTIFFS
EQUIP FOR EQUALITY, INC.

 

DEFENDANTS

DOCKES Ejcuetstian WOMEN COUNSELING SERVICES,

‘a/k/a SYENE ELKANAH SINGER PAVILLION,

FEB 0 4 2003

(DB) county oF RESIDENCE OF FIRST LISTED PLAINTIFF COOK
(EXCEPT IN US. PLAINTIFF CASES)

 

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Vi. CAUSE OF ACTION

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

In the Matter of
EQUIP FOR EQUALITY, INC.
Plaintiff,
VS. 4
CHRISTIAN WOMEN COUNSELING SERVICES, a/k/a

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